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The

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of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sixth
Appellate District of Texas at Texarkana

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JOSHUA WILLIAM LAY,
Appellant

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Judicial District Court

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Hunt County, Texas

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Court No. 26176

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Before Morriss, C.J.,
Carter and Moseley, JJ.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Opinion by Justice Moseley








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; O P I N I O N

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Joshua William Lay did not dispute
that he tucked a nine-millimeter pistol into his pocket, pedaled his bicycle to
Darryl Dwane Feggett’s
apartment, and shot Feggett four times, killing
him.&nbsp; Rather, he disputed the motives for
his actions.&nbsp; A jury convicted Lay of
murder and sentenced him to thirty years’ imprisonment.&nbsp; On appeal, Lay complains that the evidence
was insufficient to establish that he intentionally or knowingly killed Feggett and contends that the trial court erred in refusing
to submit instructions to the jury concerning the lesser-included offense of
manslaughter and on self-defense.&nbsp; We
affirm the judgment of the trial court because we find the evidence sufficient
to establish the requisite mens rea for murder, hold the inclusion of manslaughter as a
lesser-included offense was unwarranted, and conclude that Lay was not entitled
to an instruction on self-defense.&nbsp; 

I.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sufficient
Evidence Established that Lay Intentionally or Knowingly Killed Feggett

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Standard of Review

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In reviewing the legal sufficiency
of the evidence, we review all the evidence in the light most favorable to the
jury’s verdict to determine whether any rational jury could have found the
essential elements of murder beyond a reasonable doubt.&nbsp; Brooks
v. State, 323 S.W.3d 893, 912 (Tex. Crim. App. 2010) (4–1–4 decision)
(citing Jackson v. Virginia, 443 U.S.
307, 319 (1979)); Hartsfield v. State,
305 S.W.3d 859, 863 (Tex. App.—Texarkana 2010, pet. ref’d)
(citing Clayton v. State, 235 S.W.3d
772, 778 (Tex. Crim. App. 2007)).&nbsp; Our
rigorous legal sufficiency review focuses on the quality of the evidence
presented.&nbsp; Brooks, 323 S.W.3d at 917–18 (Cochran, J., concurring). &nbsp;We examine legal sufficiency under the
direction of the Brooks opinion,
while giving deference to the responsibility of the jury “to fairly resolve
conflicts in testimony, to weigh the evidence, and to draw reasonable
inferences from basic facts to ultimate facts.”&nbsp;
Hooper v. State, 214 S.W.3d 9,
13 (Tex. Crim. App. 2007) (citing Jackson,
443 U.S. at 318–19).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Legal sufficiency of the evidence is
measured by the elements of the offense as defined by a hypothetically correct
jury charge.&nbsp; Malik v. State, 953 S.W.2d 234, 240 (Tex. Crim. App. 1997).&nbsp; The hypothetically correct jury charge “sets
out the law, is authorized by the indictment, does not unnecessarily increase
the State’s burden of proof or unnecessarily restrict the State’s theories of
liability, and adequately describes the particular offense for which the
defendant was tried.”&nbsp; Id.&nbsp;
In this case, Lay committed murder if he intentionally or knowingly
caused Feggett’s death. &nbsp;Tex.
Penal Code Ann. § 19.02(b)(1)
(West 2011).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; B.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The Record

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Feggett’s
neighbor at the Greentree apartment complex, Juan
Davis, witnessed Feggett, Feggett’s
girlfriend, and Lay “laughing and joking” outside the convenience store.&nbsp; Lay had just met Feggett
and felt that they could be friends.&nbsp; Lay
accepted an invitation from Feggett to attend a
cookout at Feggett’s apartment and gave Feggett a $100.00 bill to pay for groceries for the
cookout.&nbsp; Feggett
and his girlfriend went to Wal-Mart to purchase groceries and instructed Lay to
meet them at their apartment.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; When Lay went to Feggett’s
apartment to attend the cookout, he discovered that Feggett
had lied––there was no cookout to attend.&nbsp;
Incensed, Lay demanded the return of his money.&nbsp; Feggett (who,
unbeknownst to Lay, was a drug addict) refused to return the money, became
belligerent, held a knife to Lay’s throat, and demanded that Lay leave. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Davis was socializing that evening
with his neighbor, Quenten Mays, on the Greentree apartment grounds when they witnessed a “mad,”
“irritated” Lay exit Feggett’s apartment.&nbsp; Lay told Davis, “I’m going to kill him,” said
to Mays that “somebody’s going to die,” and then “took off” “on his bike.”&nbsp; Apartment resident Andre Smith spoke with Feggett afterward and related that&nbsp; Feggett “was pretty
upset, like he was scared for his life.”&nbsp;
Smith also told the jury that Feggett had
said, “I’m being threatened.&nbsp; Somebody’s
going to hurt me.”&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Lay angrily pedaled back to his
rental home.&nbsp; He stewed over the
altercation, grabbed his friend’s gun, rode his bicycle back to Feggett’s apartment, and confronted him about the previous
argument and the theft of his money.&nbsp; Lay
said that he “just wanted to make [Feggett] feel how
I felt.” &nbsp;Lay offered the explanation
that he became afraid when Feggett walked toward him
and reached in his pocket, whereupon Lay drew the pistol, shot Feggett, and ran. &nbsp;Lay
admitted that Feggett had no weapon in his hands at
the time he was shot. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Davis heard gunshots at the
apartment complex and Smith witnessed the shooting.&nbsp; Smith testified that Feggett
did not have a knife and did not move toward Feggett
before the shooting began.&nbsp; According to
Smith, the two were “just talking” when Feggett was
shot.&nbsp; Davis ran toward the commotion and
“saw [Lay] cutting across the top balcony going down the stairs.”&nbsp; Mays witnessed Lay “running across the
parking lot.”&nbsp; Davis “held [Feggett] as he took his last breaths.”&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Officer Phillip Spencer received a
tip as to the location of Lay’s home and found him asleep in his bedroom.&nbsp; A consensual search of the home revealed “an
empty 9 millimeter pistol box and a box of 9 millimeter rounds missing a few
rounds from the box.”&nbsp; The pistol was
found hidden in the attic, and a bicycle matching the description given by
witnesses was located in the garage.&nbsp; Lay
was taken to the police department for questioning. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Detective Felicia White, who
interviewed Lay testified:

to
my understanding . . . they had a confrontation earlier, . . . the victim had
drawn a knife on him.&nbsp; They had an
altercation.&nbsp; The Defendant left the
area, rode home to Anderson Street, got a gun, came back to Greentree
Apartments, confronted the victim and said that he wanted him to make him feel
like he did.&nbsp; 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; C.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Analysis 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Lay contends that the evidence was insufficient
to establish the intentional or knowing mens rea element of murder.&nbsp;
A person acts intentionally, or with intent, with respect to the nature
of his conduct or to a result of his conduct when it is his conscious objective
or desire to engage in the conduct or cause the result.&nbsp; Tex.
Penal Code Ann. § 6.03(a) (West 2011).&nbsp;
Whether Lay possessed the intent to kill was a question of fact for the
jury to determine.&nbsp; Brown v. State, 122 S.W.3d 794, 800 (Tex. Crim. App. 2003).&nbsp; In determining whether intent to kill was
proven, the jury can use its collective common sense and may apply common
knowledge and experience. &nbsp;See Rodriguez v. State, 90 S.W.3d 340,
355 (Tex. App.—El Paso 2001, pet. ref’d).&nbsp; The jury may infer the intent to kill from
any evidence that it believes proves the existence of that intent. &nbsp;Brown,
122 S.W.3d at 800.&nbsp; Intent can be
inferred from such circumstantial evidence as the person’s acts, words, and
conduct because “[o]ne’s acts are generally reliable
circumstantial evidence of one’s intent.” &nbsp;Laster v. State,
275 S.W.3d 512, 524 (Tex. Crim. App. 2009); Guevara
v. State, 152 S.W.3d 45, 50 (Tex. Crim. App. 2004).&nbsp; The jury may also infer intent to kill from
the defendant’s use of a deadly weapon, such as a gun, unless it would be
unreasonable to infer that death or serious bodily injury could result from the
particular use of the weapon. &nbsp;Brown, 122 S.W.3d at 800–01; Jones v. State, 944 S.W.2d 642, 647
(Tex. Crim. App. 1996). 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The jury heard that Lay became angry
at Feggett.&nbsp;
Davis and Mays both testified that Lay said he was going to kill Feggett.&nbsp; Lay pedaled
a bicycle to his home, retrieved a gun, and returned on the bicycle to Feggett’s apartment, maintaining that his intention was to
make Feggett feel how he had made Lay feel when Feggett had placed a knife at his throat.&nbsp; Smith testified the two were just talking
when Lay drew his deadly weapon and shot Feggett.&nbsp; Lay ran after the shooting and hid the pistol
in his attic.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Viewing the evidence in a light most
favorable to the verdict, we find that a rational jury could have found beyond
a reasonable doubt that Lay intentionally or knowingly killed Feggett. We overrule Lay’s legal sufficiency
challenge.&nbsp; 

II.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Trial Court Was Not Required to Submit Manslaughter as a
Lesser-Included Offense

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Lay argues that the trial court
erred in denying his request to include manslaughter in the jury charge as a
lesser-included offense.&nbsp; The Texas Court
of Criminal Appeals has implemented a “two-prong test to determine whether a
charge on a lesser-included offense should be given.”&nbsp; McKinney
v. State, 207 S.W.3d 366, 370 (Tex. Crim. App. 2006).&nbsp; A party is entitled to such a charge when (1)
“the offense is a lesser-included offense of the offense charged” in the
indictment, and (2) the record includes some evidence to permit a rational jury
to find that if the defendant was guilty, he was guilty only of the lesser
offense, but not guilty of the greater.&nbsp; Id.; Guzman
v. State, 188 S.W.3d 185, 188 (Tex. Crim. App. 2006); Salinas v. State, 163 S.W.3d 734, 741 (Tex. Crim. App. 2005); Wesbrook v. State, 29 S.W.3d 103, 113 (Tex.
Crim. App. 2000).&nbsp; Manslaughter is a type
of homicide which requires the perpetrator to possess a reckless state of mind
which prompts the prohibited act. &nbsp;Tex. Penal Code Ann. § 19.04 (West
2011). &nbsp;A person acts recklessly when he is
aware of, but consciously disregards, a substantial and unjustifiable risk. &nbsp;Tex.
Penal Code Ann. §&nbsp;6.03(c) (West 2011).&nbsp; Manslaughter is a
lesser-included offense of murder. &nbsp;Moore v. State, 969 S.W.2d 4, 9 (Tex.
Crim. App. 1998); see Tex. Code Crim. Proc. Ann. art.
37.09(3) (West 2006).&nbsp; Thus, we focus on
the second prong of the test. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Lay argues that he did not have the
intention to kill Feggett, but that he only “wanted
to obtain an apology from” Feggett, and wanted him to
“feel what it felt like to be threatened with a deadly weapon.”[1]&nbsp; This is the sole evidence that it was not
Lay’s intention to kill Feggett. &nbsp;“[T]he act of pointing a loaded gun at someone
and shooting it toward that person at close range demonstrates an intent to
kill.” &nbsp;Ex parte Thompson, 179 S.W.3d 549, 556 n.18 (Tex. Crim. App. 2005).
&nbsp;Lay was indicted and tried for using a
firearm to slay Feggett. &nbsp;A firearm is a deadly weapon per se. &nbsp;Stewart
v. State, 532 S.W.2d 349, 350 (Tex. Crim. App. 1976). &nbsp;When a deadly weapon per se is used in a
deadly manner and death results, there is no need to give a charge of a lesser-included
offense even though the defendant testified he did not intend to kill the
victim. Womble v. State, 618 S.W.2d 59, 65 (Tex. Crim.
App. [Panel Op.] 1981) (defendant not entitled to charge on aggravated assault
as lesser-included offense). &nbsp;Lay’s
“denial that he intended to kill the victim does not, of itself, raise the
issue of manslaughter.”&nbsp; Munoz v. State, 932 S.W.2d 242, 245
(Tex. App.—Texarkana 1996, no pet.).&nbsp; “To
raise the issue of manslaughter, there must be evidence of a lack of intent to
kill and evidence that [the
defendant] acted recklessly while ignoring a known risk.”&nbsp; Id. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We do not believe there is evidence
that Lay acted recklessly while ignoring a known risk.&nbsp; Lay left Feggett’s
residence, rode his bicycle to his own neighborhood where he obtained a gun,
returned to Feggett’s home, aimed the gun at Feggett, and shot him four times.&nbsp; This is not evidence of reckless behavior. &nbsp;Moreover, the statements that Lay made to
Davis and Mays, together with Lay’s admission that Feggett
had no weapon in his hands at the time he was shot, remained uncontested.&nbsp; The physical evidence shows that Feggett was shot four times from close range with one of
the four bullets striking his forehead.&nbsp;
The evidence shows a deliberate and voluntary act, and there is no
dispute that when Lay drew the weapon, he intended to use it.&nbsp; Lay’s testimony that he did not intend to kill
contained no evidence of a reckless state of mind and there was no other
evidence of that mindset. &nbsp;Therefore, we
find there was no evidence in the record from which a rational trier of fact could determine that Lay was guilty only of
manslaughter.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We overrule this point of error. 

III.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Lay
Was Not Entitled to an Instruction on Self-Defense

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Lay complains that the trial court
erred in refusing to instruct the jury on the issue of self-defense. &nbsp;After relating the facts of the shooting,
White testified, “I don’t think that’s self-defense,” and told the jury that
Lay was unlawfully carrying a weapon.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Under Section 9.31 of the Texas
Penal Code, “a person is justified in using force against another when and to
the degree [he] reasonably believes the force is immediately necessary to
protect [himself] against the other’s use or attempted use of unlawful force.” &nbsp;Tex.
Penal Code Ann. § 9.31(a) (West
2011).&nbsp; But “[t]he use of force against
another is not justified . . . if the actor sought an explanation from or
discussion with the other person concerning the actor’s differences with the
other person while the actor was” unlawfully carrying a weapon under Section
46.02.&nbsp; Tex.
Penal Code Ann. § 9.31(b)(5)(A)
(West 2011).&nbsp; “A person commits an
offense if the person intentionally, knowingly, or recklessly carries on or
about his or her person a handgun . . . if the person is not: &nbsp;(1) on the person’s own premises or premises
under the person’s control.”&nbsp; Tex. Penal
Code Ann. § 46.02(a)(1) (West Supp. 2011).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A defendant bears the burden of
production of some evidence supporting the justification of self-defense.&nbsp; Zuliani v. State,
97 S.W.3d 589, 594 (Tex. Crim. App. 2003); Saxton
v. State, 804 S.W.2d 910, 913 (Tex. Crim. App. 1991); Dyson v. State, 672 S.W.2d 460, 463 (Tex. Crim. App. 1984).&nbsp; Once a defensive issue is raised by the
evidence, a defendant “has the right to an instruction&nbsp;. . .&nbsp;whether
that evidence is weak or strong, unimpeached or
contradicted, and regardless of what the trial court may or may not think about
the credibility of the defense.”&nbsp; Hamel v. State, 916 S.W.2d 491, 493
(Tex. Crim. App. 1996).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In his video-recorded interview with
White, Lay recounted the prior altercation in which Feggett
threatened Lay by placing a knife at his throat.&nbsp; Lay stated that he became afraid for his life
and only drew his gun during the final altercation after Feggett
gave him a crazed look, came toward him, and reached in his pocket. &nbsp;A “folding lock-blade knife” less than three
inches long was recovered from Feggett’s pocket by
officers after his death.&nbsp; Lay described Feggett’s demeanor as violent.&nbsp; Feggett was known
to have a problem with drugs.&nbsp; He was
also previously involved in “disturbances in family violence-type situations.” &nbsp;His autopsy revealed the presence of cocaine
and a blood alcohol level of .12.&nbsp; “The
defendant’s testimony alone may be sufficient to raise a defensive theory
requiring a charge.”&nbsp; Dyson, 672 S.W.2d at 463.&nbsp; Also, Smith testified he had seen Feggett pacing angrily while “saying ‘f’ this’ and I’m
going to go hurt somebody.”

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; However, when the evidence, viewed
in the light most favorable to the defendant, establishes as a matter of law
that force is not justified in self-defense, no self-defense issue is
required.&nbsp; Ferrel v. State, 55 S.W.3d 586, 591 (Tex. Crim. App. 2001); Weatherall v. State, No.&nbsp;06-09-00095-CR, 2009
WL 3349039, at *2 (Tex. App.—Texarkana Oct. 20, 2009, no pet.) (mem. op., not designated for publication);[2] Williams v. State, 35 S.W.3d 783, 786 (Tex. App.—Beaumont 2001,
pet. ref’d) (citing Dyson, 672 S.W.2d at 464–65).&nbsp;


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The undisputed evidence was that after the
first altercation, Lay returned to his home, took possession of his friend’s
gun, returned to Feggett’s apartment complex, and
confronted Feggett, seeking “to convince [Feggett] to acknowledge wrongdoing in swindling money from”
him.&nbsp; Because Lay sought a discussion
concerning his differences with Feggett while
carrying his friend’s gun upon the apartment complex premises in violation of
Section 46.02 of the Texas Penal Code, he was not entitled to an instruction on
the issue of self-defense as a matter of law.&nbsp;
Therefore, the trial court did not err in refusing to include the
instruction. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Lay’s last point of error is
overruled.&nbsp; 

IV.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Conclusion


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We affirm the trial court’s
judgment. 

&nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Bailey
C. Moseley

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice

&nbsp;

Date
Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; December 9, 2011

Date
Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; January 24, 2012

&nbsp;

Publish 

&nbsp;











[1]Lay
also argues that the following facts also indicate reckless, rather than
intentional or knowing acts:&nbsp; Lay closed
his eyes, did not use a high-powered weapon, and was easily identifiable from
tattoos and the unique bicycle he rode.&nbsp;
He states that “a person who commits a murder might practice using the
weapon, use accomplices, shoot witnesses, and have a motorized vehicle
available for a quick and inconspicuous escape, or steal one.”&nbsp; These facts do not indicate reckless, as
opposed to intentional or knowing acts.&nbsp;
Rather, they simply emphasize that the murder was not committed by a
stealthy criminal. 





[2]Although
this unpublished case has no precedential value, we may take guidance from it “as
an aid in developing reasoning that may be employed.” &nbsp;Carrillo
v. State, 98 S.W.3d 789, 794 (Tex. App.—Amarillo 2003, pet. ref’d).







